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                                FOR PUBLICATION

                  UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT


                LA ALLIANCE FOR HUMAN RIGHTS,            No. 21-55395
                an unincorporated association;
                JOSEPH BURK; HARRY TASHDJIAN;              D.C. No.
                KARYN PINSKY; CHARLES MALOW;            2:20-cv-02291-
                CHARLES VAN SCOY; GEORGE FREM;            DOC-KES
                GARY WHITTER; LEANDRO SUAREZ,
                                Plaintiffs-Appellees,

                LATINO COALITION OF LOS ANGELES;
                JOSUE TIGUILA,
                     Intervenor-Plaintiffs-Appellees,

                                 v.

                COUNTY OF LOS ANGELES, a
                municipal entity,
                                Defendant-Appellant,

                                and

                CITY OF LOS ANGELES, a municipal
                entity,
                                        Defendant.
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               2   LA ALLIANCE FOR HUMAN RIGHTS V. COUNTY OF LA


                LA ALLIANCE FOR HUMAN RIGHTS,            No. 21-55404
                an unincorporated association;
                JOSEPH BURK; HARRY TASHDJIAN;              D.C. No.
                KARYN PINSKY; CHARLES MALOW;            2:20-cv-02291-
                CHARLES VAN SCOY; GEORGE FREM;            DOC-KES
                GARY WHITTER; LEANDRO SUAREZ,
                                Plaintiffs-Appellees,

                LATINO COALITION OF LOS ANGELES;
                JOSUE TIGUILA,
                     Intervenor-Plaintiffs-Appellees,

                                 v.

                CITY OF LOS ANGELES, a municipal
                entity,
                              Defendant-Appellant,

                                and

                COUNTY OF LOS ANGELES, a
                municipal entity,
                                      Defendant.
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                  LA ALLIANCE FOR HUMAN RIGHTS V. COUNTY OF LA             3


                LA ALLIANCE FOR HUMAN RIGHTS,             No. 21-55408
                an unincorporated association;
                JOSEPH BURK; HARRY TASHDJIAN;                D.C. No.
                KARYN PINSKY; CHARLES MALOW;              2:20-cv-02291-
                CHARLES VAN SCOY; GEORGE FREM;              DOC-KES
                GARY WHITTER; LEANDRO SUAREZ,
                                Plaintiffs-Appellees,
                                                            OPINION
                LATINO COALITION OF LOS ANGELES;
                JOSUE TIGUILA,
                     Intervenor-Plaintiffs-Appellees,

                                 v.

                CANGRESS, DBA Los Angeles
                Community Action Network (LA
                CAN),
                            Intervenor-Appellant,

                COUNTY OF LOS ANGELES, a
                municipal entity; CITY OF LOS
                ANGELES, a municipal entity,
                                         Defendants.

                    On Appeal from the United States District Court
                         for the Central District of California
                      David O. Carter, District Judge, Presiding

                           Argued and Submitted July 7, 2021
                                  Honolulu, Hawai’i

                               Filed September 23, 2021
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               4   LA ALLIANCE FOR HUMAN RIGHTS V. COUNTY OF LA

                   Before: Jacqueline H. Nguyen, John B. Owens, and
                         Michelle T. Friedland, Circuit Judges.

                                  Opinion by Judge Nguyen


                                         SUMMARY *


                                          Civil Rights

                   The panel vacated the district court’s preliminary
               injunction order and remanded for further proceedings in an
               action brought by LA Alliance for Human Rights and eight
               individual Plaintiffs against the County and City of Los
               Angeles for harms stemming from the proliferation of
               encampments in the Skid Row area.

                   LA Alliance is a coalition of Los Angeles residents
               whose members include business and property owners,
               landlords, housed residents of the Skid Row area, formerly
               homeless residents of a Skid Row-area mission, and a real
               estate professional with an interest in the downtown area.
               Plaintiffs’ complaint generally alleged that County and City
               policies and inaction have created a dangerous environment
               in the Skid Row area and that the situation is deteriorating.

                   After extensive negotiations failed to produce a
               settlement, Plaintiffs filed a Motion for Preliminary
               Injunction seeking a court order requiring the County and
               City to offer shelter to all unhoused individuals in Skid Row,

                   *
                     This summary constitutes no part of the opinion of the court. It
               has been prepared by court staff for the convenience of the reader.
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                  LA ALLIANCE FOR HUMAN RIGHTS V. COUNTY OF LA             5

               clear all Skid Row encampments, prohibit camping there,
               and more. The Motion was grounded in the legal theories
               alleged in the complaint, including: a claim that the County
               violated its mandatory duty to provide medically necessary
               care under California Welfare and Institutions Code section
               17000 by failing to provide shelter to unhoused individuals;
               a claim that the County and City have facilitated public
               nuisance violations by failing to clear encampments; several
               claims that the City violated state and federal disability
               access laws by failing to clear sidewalks of encampments;
               and claims that the County and City violated Plaintiffs’
               constitutional rights by providing disparate services to those
               living and working within the Skid Row area and by enacting
               policies regarding Skid Row that have resulted in a state-
               created danger to Skid Row-area residents and businesses.

                   The district court issued a sweeping preliminary
               injunction against the County and City of Los Angeles and
               ordered, among other relief: the escrow of $1 billion to
               address the homelessness crisis, offers of shelter or housing
               to all unhoused individuals in Skid Row within 180 days,
               and numerous audits and reports. The district court’s order
               was premised on its finding that structural racism—in the
               form of discriminatory lending, real estate covenants,
               redlining, freeway construction, eminent domain,
               exclusionary zoning, and unequal access to shelter and
               affordable housing—was the driving force behind Los
               Angeles’s homelessness crisis and its disproportionate
               impact on the Black community. The district court found
               that Plaintiffs had shown a likelihood of success on the
               merits of six claims: violations of due process rights under
               the state-created danger and special relationship doctrines;
               violation of equal protection on the basis of race; violation
               of the substantive due process rights of Black families to
               family integrity; violation of California Welfare and
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               6   LA ALLIANCE FOR HUMAN RIGHTS V. COUNTY OF LA

               Institutions Code section 17000; and violation of the
               Americans with Disabilities Act (“ADA”).

                   The panel held that, as the claims were articulated by the
               district court, Plaintiffs lacked standing on all but their ADA
               claim. The panel stated that none of Plaintiffs’ claims were
               based on racial discrimination and the district court’s order
               was largely based on unpled claims and theories. The
               district court therefore abused its discretion because it only
               had equitable power to grant relief on the merits of the case
               or controversy before it and did not have the authority to
               issue an injunction based on claims not pled in the
               complaint. Moreover, because plaintiffs did not bring most
               of the claims upon which relief was granted, they failed to
               put forth evidence to establish standing. To fill the gap, the
               district court impermissibly resorted to independent research
               and extra-record evidence. The panel noted that the district
               court had cited material not subject to judicial notice and
               relied on facts contained in various publications that were
               subject to reasonable dispute. To the extent the district court
               premised the injunctive relief on improperly noticed facts
               necessary to confer standing, the district court abused its
               discretion.

                   Turning to the six claims upon which relief was granted,
               the panel noted that Plaintiffs brought no race-based claims,
               and they did not allege or present any evidence that any
               individual Plaintiff or LA Alliance member was Black—
               much less Black and unhoused, a parent, or at risk of losing
               their children. Nor had plaintiffs alleged or argued that there
               was a special relationship between the City and unhoused
               residents of Skid Row or that they experienced restraints of
               personal liberty sufficient to create an affirmative duty for
               the City to protect their rights. The panel concluded that
               Plaintiffs had not made a clear showing that any individual
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                   LA ALLIANCE FOR HUMAN RIGHTS V. COUNTY OF LA             7

               Plaintiff had standing for the race-based claims, including
               the substantive due process, equal protection, and state-
               created danger claims. With respect to the section 17000
               claim, plaintiffs lacked standing because they failed to allege
               that an individual Plaintiff was deprived of medically
               necessary care or general assistance.

                   The panel held that the two individual Plaintiffs who
               require wheelchairs for daily activities and cannot traverse
               sidewalks within Skid Row because of homeless
               encampments had standing to bring ADA claims against the
               City. Their claim failed, however, because they had not
               shown a likelihood of success at this stage; Plaintiffs did not
               offer sufficient evidence that they were denied the benefits
               of the City’s sidewalks or were otherwise discriminated
               against by the City and that such denial of benefits or
               discrimination was by reason of their disabilities. Moreover,
               the district court abused its discretion by relying on extra-
               record evidence to find success on the merits and by ordering
               overly broad relief.

                   The panel rejected the argument that LA Alliance had
               associational standing to seek relief under all the claims
               upon which the injunction was based. The panel held that,
               like the individual Plaintiffs, no other member of LA
               Alliance had alleged injuries sufficient for standing to bring
               the substantive due process, state-created danger, special
               relationship, equal protection, or section 17000 claims upon
               which relief was granted.
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               Cities, Association of Washington Cities, Washington State
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                                       OPINION

               NGUYEN, Circuit Judge:

                   Nearly one in four unhoused people in this country live
               in Los Angeles County, and the crisis is worsening. In 2020,
               over 66,000 individuals were unhoused in the County, a 13%
               increase over the previous year. Perhaps nowhere is the
               emergency more apparent than on Los Angeles’s Skid Row,
               which encompasses more than 50 blocks of downtown. Skid
               Row has become symbolic of the City’s homelessness crisis
               due to its history as an area with a high concentration of
               unhoused individuals, its extreme density of tent
               encampments on public sidewalks, and its frequent incidents
               of violence and disease. In Skid Row and elsewhere in the
               County, the conditions of street living, lack of sufficient
               services, and lack of pathways to permanent housing have
               had a devastating impact on the health and safety of
               unhoused Angelenos and the communities in which they
               live. These conditions, and local governments’ approach to
               the issue, have repeatedly been the subject of litigation.

                   Plaintiff LA Alliance for Human Rights and eight
               individual plaintiffs sued the County and City of Los
               Angeles for harms stemming from the proliferation of
               encampments in the Skid Row area. They allege that County
               and City policies and inaction have created a dangerous
               environment in Skid Row, to the detriment of local
               businesses and residents. The litigation was stayed for
               nearly a year while the district court devoted an
               extraordinary amount of time and effort to understanding the
               parties’ positions and encouraging settlement.         After
               extensive negotiations failed to produce a settlement, the
               district court issued a sweeping preliminary injunction
               against the County and City of Los Angeles and ordered,
               among other relief: the escrow of $1 billion to address the
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               homelessness crisis, offers of shelter or housing to all
               unhoused individuals in Skid Row within 180 days, and
               numerous audits and reports.

                   The district court’s order is premised on its finding that
               structural racism—in the form of discriminatory lending,
               real estate covenants, redlining, freeway construction,
               eminent domain, exclusionary zoning, and unequal access to
               shelter and affordable housing—is the driving force behind
               Los Angeles’s homelessness crisis and its disproportionate
               impact on the Black community. Faulting the County and
               City for being “unable or unwilling to devise effective
               solutions to L.A.’s homelessness crisis,” the district court
               determined it was compelled to act because the “ever-
               worsening public health and safety emergency demands
               immediate, life-saving action.”

                   The parties take no issue with the district court’s
               conclusion that structural racism has played a significant role
               in the current homelessness crisis in the Los Angeles area.
               But none of Plaintiffs’ claims is based on racial
               discrimination, and the district court’s order is largely based
               on unpled claims and theories. On appeal, Plaintiffs
               embrace the entirety of the district court’s order, but because
               they did not bring most of the claims upon which relief was
               granted, they failed to put forth evidence to establish
               standing. To fill the gap, the district court impermissibly
               resorted to independent research and extra-record evidence.
               For these reasons, we vacate the preliminary injunction and
               remand for further proceedings.
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                                                 I

                                                A

                   LA Alliance is a coalition of Los Angeles residents.
               Members include business and property owners, landlords,
               housed residents of the Skid Row area, formerly homeless
               residents of a Skid Row-area mission, and a real estate
               professional with an interest in the downtown area. Six of
               the nine individuals alleged to be representative of LA
               Alliance’s membership own property or have business or
               organizational interests in and around homeless
               encampments. Five of the eight LA Alliance members who
               are individual Plaintiffs, including two who use wheelchairs,
               live in or near Skid Row.

                   In 2019, LA Alliance unsuccessfully attempted to
               intervene in and object to the settlement of Mitchell v. City
               of Los Angeles, No. 2:16-cv-01750 (C.D. Cal. filed Mar. 14,
               2016). The Mitchell settlement, which applies for three
               years to certain blocks in the Skid Row area, limits the City’s
               ability to clear or destroy the property of unhoused people
               and requires notice of any cleanups. However, it allows the
               City to move property without notice to permit access
               required by the Americans with Disabilities Act (“ADA”). 1

                   Denied intervenor status in Mitchell, LA Alliance and
               eight of its individual members filed this suit against the
               County and City on March 10, 2020. On March 17 and 18,

                   1
                     LA Alliance contends that the Mitchell settlement “has led to a
               sharp decline in health and safety.” LA Alliance also takes issue with
               our holding in Martin v. City of Boise that municipalities cannot
               “prosecut[e] people criminally for sleeping outside on public property
               when those people have no home or other shelter to go to.” 920 F.3d
               584, 603 (9th Cir. 2019).
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               2020, the district court granted some of the Mitchell
               plaintiffs’ applications to intervene as of right to protect their
               interest in the Mitchell settlement. One of those intervenors,
               Cangress, dba Los Angeles Community Action Network
               (“Cangress”), is also a party to this appeal.

                                               B

                   The Complaint asserts fourteen causes of action under
               state and federal law. In general, the Complaint alleges that
               County and City policies and inaction have created a
               dangerous environment in the Skid Row area and that the
               situation is only deteriorating. Specifically, Plaintiffs allege
               that the County and City’s failures to curb rising
               homelessness, combined with various settlements and court
               orders protecting the rights of homeless individuals, have
               resulted in violent crime, the deterioration of public order,
               unsanitary conditions, needless death, the usurpation of
               public sidewalks, and damage to the natural environment.
               Plaintiffs also allege that this crisis has negatively affected
               property values in downtown and Skid Row, harming
               Plaintiffs’ ability to sell, rent, and operate their properties.
               Various Plaintiffs also allege that they cannot safely traverse
               Skid Row sidewalks, have experienced property damage due
               to the proliferation of encampments, and are exposed to
               violence and human suffering daily.

                                               C

                   For over a year, the district court and the parties,
               including Intervenor Cangress, engaged in almost a dozen
               settlement and status conferences. At various times the
               district court heard from non-party community members
               (housed and unhoused), clergy, City Council members,
               County Commissioners, the Mayor of Los Angeles, and
               representatives from state and federal agencies. The district
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               court devoted an extraordinary amount of effort toward
               understanding and encouraging the parties to implement
               solutions that would improve the lives of unhoused
               Angelenos.

                   With no settlement forthcoming, on January 31, 2021,
               the district court issued an “order to appear and show cause.”
               The order sought inventories of County and City properties,
               financial disclosures, and briefing on the “outer limit of the
               Court’s structural equitable remedy power” and “all
               equitable remedies available to the Court that would require
               the City . . . to take action to provide relief to the homeless
               community.”

                   Plaintiffs responded by filing a Motion for Preliminary
               Injunction seeking a court order that required the County and
               City to offer shelter to all unhoused individuals in Skid Row,
               clear all Skid Row encampments, prohibit camping there,
               and more. The Motion was grounded in the legal theories
               alleged in the Complaint and based on eight of Plaintiffs’
               fourteen claims, including: a claim that the County violated
               its mandatory duty to provide medically necessary care
               under California Welfare and Institutions Code section
               17000 by failing to provide shelter to unhoused individuals;
               a claim that the County and City have facilitated public
               nuisance violations by failing to clear encampments; several
               claims that the City violated state and federal disability
               access laws by failing to clear sidewalks of encampments;
               and claims that the County and City violated Plaintiffs’
               constitutional rights by providing disparate services to those
               living and working within the Skid Row area and by enacting
               policies regarding Skid Row that have resulted in a state-
               created danger to Skid Row-area residents and businesses.

                   Although none of these claims alleged racial
               discrimination, Plaintiffs’ Motion included a short section
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               highlighting statements made at status conferences and a
               report acknowledging the impact systemic racism has had on
               homelessness. During status conferences, the district court
               had engaged in numerous colloquies regarding the
               disproportionate number of unhoused Black and Latino
               Angelenos and had expressed interest in the relationship
               between systemic racism and homelessness.

                                             D

                   Shortly after the County and City filed their oppositions
               to Plaintiffs’ Motion, the district court issued an order
               granting a preliminary injunction (“Order”). The Order
               detailed, over sixty-three single-spaced pages, the County
               and City’s “historical constitutional violations” stemming
               from structural racism. Beginning with Los Angeles’s
               approach to poor residents living in unpermitted wooden
               structures during the first half of the twentieth century, the
               district court described the impact of the “racially segmented
               economy” during the Great Depression, the rise of “state-
               enforced racially-restrictive [real estate] covenants,” and the
               segregated homelessness-services systems of the 1920s and
               1930s. Drawing from academic and media sources, the
               district court explained this country’s history of redlining,
               which created a “cycle of disinvestment” and “a lasting
               [racial] wealth gap.” The district court explored the impact
               and history of “Los Angeles’s ‘urban renewal’” efforts,
               including the use of eminent domain and highway
               construction to “displac[e] Black families on a large scale.”

                   The district court then found that the City’s 1976
               adoption of a Containment Policy was aimed at
               “‘contain[ing]’ homeless people” within a 55-block zone “to
               maintain the pristineness of the business district.” The court
               found that this policy “demarcate[d] Skid Row as a
               concentration for rehabilitation services,” facilitating an
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               “ensuing cycle of incarceration and homelessness—
               disproportionately targeting Black communities.”

                   The district court recounted shortcomings of affordable
               housing efforts in and around Los Angeles, and the disparate
               impact of COVID-19 on Black renters. It criticized the
               City’s leaders for failing to effectively use their emergency
               powers and blasted corruption and misappropriation of
               taxpayer-allocated funds, missed deadlines, and the lack of
               a plan to solve the crisis. The district court compellingly
               described the ill effects of the growing crisis: fires; rising
               deaths of unhoused Angelenos; unhoused Angelenos living
               near pollution-heavy roadways; unaddressed mental health
               disorders, particularly among unhoused Angelenos of color;
               and the spread of uncommon diseases due to lack of
               sanitation. Finally, the district court highlighted the “unique
               impact that homelessness has on women,” noting that
               “women of color” are significantly overrepresented in the
               homeless population and in the population of those who die
               on the streets.

                  Based on these extensive findings, the district court
               found a likelihood of success on the merits of six claims
               against both the County and City:

                      1) Violation of due process rights under the
                         state-created danger doctrine, based on
                         actions that created danger to the “Black
                         community”        by    “creat[ing]    or
                         worsen[ing]        the     discriminatory
                         homelessness regime that plagues Los
                         Angeles today,” as well as actions that
                         created a danger to those living in
                         encampments, most notably a high rate of
                         preventable deaths.
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                       2) Violation of due process rights under the
                          special relationship doctrine based on the
                          County and City’s “lengthy history of
                          discriminatory policies, . . . [which]
                          restrain[] the personal liberty of L.A.’s
                          homeless population to such an extent as
                          to trigger the state’s affirmative duty to
                          act.”

                       3) Violation of equal protection on the basis
                          of race. The court found that the
                          disproportionate death rates of Black
                          people compared to “their white
                          counterparts . . . can be directly traced to
                          a history of structural racism and
                          discrimination.”

                       4) Violation of the substantive due process
                          right of Black families to family integrity,
                          caused by “decades of systemic racism”
                          and “City and County policies enacted
                          against Black communities.”

                       5) Violation of California Welfare and
                          Institutions Code section 17000, which
                          imposes a mandatory duty of care on the
                          County. The court expanded section
                          17000’s application to the City.

                       6) Violation of the ADA by both the County
                          and City.

                   Of these six claims, Plaintiffs had not asserted or moved
               for injunctive relief on the first four and had asserted the fifth
               against only the County and the sixth against only the City.
               The district court’s explanation for why these claims had a
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               likelihood of success on the merits also relied on legal
               theories that Plaintiffs did not plead or argue, including the
               race-based discrimination theories underpinning the state-
               created danger, equal protection, and substantive due
               process claims. In addition, the district court relied almost
               exclusively on extra-record evidence, and expressly did not
               rely on Plaintiffs’ preliminary injunction evidence.

                   The district court ordered extensive relief. 2 The Order
               requires numerous independent audits, investigations, and
               reports related to the County and City’s funds, properties,
               and contractual relationships with developers; the cessation
               of land and property transfers County- and City-wide; offers
               of shelter to all unhoused individuals on Skid Row within
               180 days; the creation of a “plan that ensures the uplifting
               and enhancement of Skid Row without involuntarily
               displacing current residents;” and the escrow of $1 billion to
               address homelessness.

                                                   E

                   On April 28 and 29, 2021, the County and City filed
               emergency motions with this court to stay the preliminary
               injunction pending appeal. A motions panel granted an


                   2
                      The Order tracks some of the relief requested by Plaintiffs but
               differs in key respects. For example, Plaintiffs did not request that any
               funds be escrowed but sought to have all homeless individuals within
               Skid Row offered shelter in 90 days. The difference between Plaintiffs’
               request and the ordered relief is not in itself problematic. See Kirola v.
               City & County of San Francisco, 860 F.3d 1164, 1176 (9th Cir. 2017)
               (“The district court is not bound by [movant’s] proposal, and may enter
               any injunction it deems appropriate, so long as the injunction is ‘no more
               burdensome to the defendant than necessary to provide complete relief
               to the plaintiffs.’” (quoting United States v. AMC Ent., Inc., 549 F.3d
               760, 775 (9th Cir. 2008))).
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               administrative stay to preserve the status quo pending a May
               27, 2021 hearing in the district court, which the district court
               scheduled to “receive evidence as to what properties are
               available for homelessness relief” and “receive testimony
               from the City and County” on its structural racism findings. 3
               On June 10, 2021, we extended the administrative stay
               pending further order of the court.

                                                  II

                   We may reverse the district court’s grant of a preliminary
               injunction “only where the district court abused its discretion
               or based its decision on an erroneous legal standard or on
               clearly erroneous findings of fact.” Does 1–5 v. Chandler,
               83 F.3d 1150, 1152 (9th Cir. 1996). We review de novo
               issues of law underlying the preliminary injunction,
               including questions of jurisdiction over Plaintiffs’ claims.
               Wash. Env’t Council v. Bellon, 732 F.3d 1131, 1138 (9th Cir.
               2013); Barahona-Gomez v. Reno, 167 F.3d 1228, 1234 (9th
               Cir. 1999).

                   To warrant injunctive relief, Plaintiffs must establish that
               they are “likely to succeed on the merits,” that they are
               “likely to suffer irreparable harm in the absence of
               preliminary relief, that the balance of equities tips in [their]
               favor, and that an injunction is in the public interest.” Winter
               v. Nat. Res. Def. Council, 555 U.S. 7, 20 (2008). Because
               Plaintiffs seek a mandatory injunction, they “must establish
               that the law and facts clearly favor [their] position, not



                   3
                     Plaintiffs request that we take judicial notice of a variety of
               documents filed with the district court concerning the May 27, 2021
               hearing, including letters from various non-parties and the transcript of
               the hearing. We grant the motion.
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               simply that [they are] likely to succeed.” Garcia v. Google,
               Inc., 786 F.3d 733, 740 (9th Cir. 2015) (en banc).

                   Standing is a threshold matter of jurisdiction. Steel Co.
               v. Citizens for a Better Env’t, 523 U.S. 83, 102 (1998). We
               must assure ourselves that Plaintiffs have standing and that
               jurisdiction otherwise exists before we review the merits of
               the district court’s preliminary injunction decision, whether
               or not the issue was raised below. Associated Gen.
               Contractors of Cal., Inc. v. Coal. for Econ. Equity, 950 F.2d
               1401, 1405 (9th Cir. 1991).

                   To have standing, Plaintiffs must have “(1) suffered an
               injury in fact, (2) that is fairly traceable to the challenged
               conduct of the defendant, and (3) that is likely to be
               redressed by a favorable judicial decision.” Spokeo, Inc. v.
               Robins, 136 S. Ct. 1540, 1547 (2016). At the preliminary
               injunction stage, the plaintiffs “must make a clear showing
               of each element of standing,” Yazzie v. Hobbs, 977 F.3d 964,
               966 (9th Cir. 2020) (per curiam) (quoting Townley v. Miller,
               722 F.3d 1128, 1133 (9th Cir. 2013)), relying on the
               allegations in their complaint “and whatever other evidence
               they submitted in support of their [preliminary-injunction]
               motion to meet their burden.” City & County of San
               Francisco v. U.S. Citizenship & Immigr. Servs., 944 F.3d
               773, 787 (9th Cir. 2019) (alteration in original) (quoting
               Washington v. Trump, 847 F.3d 1151, 1159 (9th Cir. 2017)
               (per curiam)). The plaintiffs “must demonstrate standing
               separately for each form of relief sought,” Friends of the
               Earth, Inc. v. Laidlaw Envt’l Servs. (TOC), Inc., 528 U.S.
               167, 185 (2000), and the “remedy must be tailored to redress
               [their] particular injury,” Gill v. Whitford, 138 S. Ct. 1916,
               1934 (2018).
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                                              III

                   The district court found that Plaintiffs have shown a
               likelihood of success on the merits of six claims. We
               conclude that, as the claims were articulated by the district
               court, Plaintiffs lack standing on all but one claim. Plaintiffs
               cannot prevail on that claim, however, without further
               development of the factual record and tailoring of the relief
               to Plaintiffs’ injuries.

                                              A

                    As we discussed, the district court granted relief based
               on claims that Plaintiffs did not allege, supported by novel
               legal theories that Plaintiffs did not argue, or against
               Defendants against whom the claim was not pled. In doing
               so, the district court abused its discretion because it only had
               equitable power to grant relief on “the merits of the case or
               controversy before it,” and “does not have the authority to
               issue an injunction” “based on claims not pled in the
               complaint.” Pac. Radiation Oncology, LLC v. Queen’s Med.
               Ctr., 810 F.3d 631, 633 (9th Cir. 2015).

                   The mismatch between the six claims underlying the
               Order and Plaintiffs’ own claims explains a second
               overarching problem: the district court’s almost exclusive
               reliance on extra-record evidence. Although our review of
               the district court’s factual findings is deferential, the district
               court abuses its discretion if its conclusions are “without
               support in inferences that may be drawn from the facts in the
               record.” Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d
               848, 856 (9th Cir. 2017) (quoting Pimentel v. Dreyfus,
               670 F.3d 1096, 1105 (9th Cir. 2012) (per curiam)). Plaintiffs
               submitted some preliminary injunction evidence, but the
               County objected to most of it and the district court expressly
               did not rely on any of the objected-to evidence. Instead, the
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               district court relied on its own independent research and
               cited material not subject to judicial notice. Lee v. City of
               Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001) (courts may
               not “[take] judicial notice of the truth of disputed factual
               matters”); accord Fed. R. Evid. 201. The district court relied
               on hundreds of facts contained in various publications for
               their truth, 4 and a significant number of facts directly
               underlying the injunctive relief are subject to reasonable
               dispute. For instance, experts extensively debate the history,
               purpose, and effect of the Containment Policy, which the
               district court found resulted in the “incarceration and
               homelessness” of Black Angelenos. To the extent the
               district court premised the injunctive relief on improperly
               noticed facts necessary to confer standing, the district court
               abused its discretion. Cf. Lee, 250 F.3d at 690 (holding that
               the district court erred in granting a motion to dismiss “by
               relying on extrinsic evidence and by taking judicial notice of
               disputed matters of fact to support its ruling”).

                                                  B

                   We now turn to Plaintiffs’ standing to bring the six
               claims upon which relief was granted. 5 To begin with,
               because Plaintiffs brought no race-based claims, they did not
               allege or present any evidence that any individual Plaintiff
               or LA Alliance member is Black—much less Black and




                   4
                     Only 22 of the 411 footnotes supporting the district court’s factual
               findings included a citation to the record.
                   5
                     We do not address whether Plaintiffs have standing to bring any
               claims that they asserted but the district court did not address.
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               unhoused, a parent, 6 or at risk of losing their children. Thus,
               Plaintiffs have not made a clear showing that any individual
               Plaintiff has standing for the race-based claims, including
               the substantive due process, equal protection, and state-
               created danger claims.

                    Plaintiffs also have not clearly shown that any individual
               Plaintiff has standing to bring the state-created danger claim
               that the district court fashioned. The district court grounded
               its state-created danger claim in a risk of premature death of
               those living in encampments. Only Plaintiff Whitter may
               have suffered a relevant injury-in-fact because he has been
               chronically unhoused and is merely temporarily sheltered at
               a Skid Row mission. However, neither Plaintiffs nor the
               district court have explained how the relief ordered would
               help Whitter. For example, the Order requires that the
               County and City offer “shelter or housing” to unhoused
               individuals in Skid Row within 180 days, but Whitter is
               already in a shelter and nothing in the record suggests he will
               lose his shelter in time to receive an offer. See Lujan v. Defs.
               of Wildlife, 504 U.S. 555, 561 (1992) (observing it must be
               likely, not merely speculative, that the injury will be
               redressed by a favorable decision). Thus, Plaintiffs have not
               made the required “clear showing” that any individual
               Plaintiff has standing to bring the district court’s version of
               the state-created danger claim. Yazzie, 977 F.3d at 966.




                   6
                      Plaintiffs submitted declarations from parents who are business
               owners and one housed individual who lives in an unspecified area of
               downtown, but none state the declarant’s race or recount any risk of
               separation from their children or loss of housing. Plaintiffs did not bring
               any race- or family-based claims, so they had no reason to discuss these
               identifiers.
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                   Similarly, Plaintiffs did not allege or argue that there is a
               special relationship between the City and unhoused residents
               of Skid Row, or that any individual Plaintiff experiences
               “restraints of personal liberty” sufficient to create an
               affirmative duty for the City to act to protect their rights.
               Plaintiffs have therefore not clearly shown that they
               themselves were injured by any failure to protect anyone
               with whom the City does have a special relationship. Such
               allegations would be required for Plaintiffs to have standing
               under DeShaney v. Winnebago County Department of Social
               Services, 489 U.S. 189, 198–202 (1989).

                   With respect to the section 17000 claim, Plaintiffs have
               not shown that any individual Plaintiff has standing to bring
               this claim because Plaintiffs nowhere allege that an
               individual Plaintiff was deprived of medically necessary
               care or general assistance, even under Plaintiffs’ and the
               district court’s theory that shelter may be required care under
               the statute. Plaintiffs have therefore not asserted that they
               themselves were injured by any failure to comply with
               section 17000’s requirement to provide for support when an
               indigent person is “not supported and relieved by their
               relatives or friends, by their own means, or by state hospitals
               or other state or private institutions.” As a result, Plaintiffs
               lack standing for this claim—and because they asserted this
               claim only against the County, the district court did not have
               authority to grant relief against the City, anyway. See Pac.
               Radiation, 810 F.3d at 633.

                   By contrast, two individual Plaintiffs have standing to
               bring the ADA claim against the City. 7 The record

                   7
                     The district court did not have authority to grant relief against the
               County under the ADA claim, because Plaintiffs only asserted the claim
               against the City. Pac. Radiation, 810 F.3d at 633.
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               demonstrates that Charles Van Scoy and Leandro Suarez
               require wheelchairs for their daily activities, see 42 U.S.C.
               § 12102(1)(A) (defining disability to include “a physical . . .
               impairment that substantially limits one or more major life
               activities”), and cannot traverse sidewalks within Skid Row
               because of homeless encampments. This injury is traceable
               to the City, because Skid Row area sidewalks are a service,
               program, or activity of the City within the meaning of Title
               II of the ADA. See 42 U.S.C. § 12132; Barden v. City of
               Sacramento, 292 F.3d 1073, 1077 (9th Cir. 2002). To the
               extent the City is liable for the obstructions, clearing the
               sidewalks is also likely to redress Van Scoy and Suarez’s
               injuries.

                                             C

                   Plaintiffs argue that LA Alliance has associational
               standing to seek relief under all the claims upon which the
               injunction is based. Associational standing exists if “[the
               organization’s] members would otherwise have standing to
               sue in their own right, the interests at stake are germane to
               the organization’s purpose, and neither the claim asserted
               nor the relief requested requires the participation of
               individual members in the lawsuit.” Laidlaw, 528 U.S. at
               181. Because only a single plaintiff with standing is needed
               to assert a claim, we need only consider whether LA
               Alliance has standing to assert the claims for which the
               individual Plaintiffs lack standing. See Nat’l Ass’n of
               Optometrists & Opticians LensCrafters, Inc. v. Brown,
               567 F.3d 521, 523 (9th Cir. 2009).

                   Like the individual Plaintiffs, no other member of LA
               Alliance has alleged injuries sufficient for standing to bring
               the substantive due process, state-created danger, special
               relationship, equal protection, or section 17000 claims upon
               which relief was granted. See Summers v. Earth Island Inst.,
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               555 U.S. 488, 499 (2009) (explaining that to establish a
               member’s injury for associational standing, an organization
               must submit “individual affidavits” from “members who
               have suffered the requisite harm”). Plaintiffs allege that LA
               Alliance consists of “a broad coalition of Los Angeles
               stakeholders . . . working towards solutions to address the
               [homelessness] crisis.” There is no evidence that LA
               Alliance’s non-Plaintiff members—including those
               described in supplemental affidavits filed with Plaintiff’s
               Motion—are Black, 8 risk disruption of their family integrity,
               have a special relationship with the City, are confined to
               Skid Row, or were deprived of the type of assistance
               required by section 17000.           Plaintiffs’ supplemental
               declarations included some from unhoused members, but
               none state that these members were members at the time of
               filing. 9 At oral argument, Plaintiffs’ counsel acknowledged
               this gap in the supplemented record. Because LA Alliance
               has not shown that its members would otherwise have
               standing to sue in their own right, it lacks associational


                   8
                      On appeal, Plaintiffs assert that LA Alliance has Black members,
               but none of the listed members identify themselves as Black (or anything
               else).
                   9
                      The fact that LA Alliance may have broadened its membership
               after filing this action to include currently unhoused individuals—even
               ones who were unhoused at the time of the Complaint—does not factor
               into the standing calculus. See Morongo Band of Mission Indians v. Cal.
               State Bd. of Equalization, 858 F.2d 1376, 1381 (9th Cir. 1988) (“[W]e
               must examine the . . . original complaint to determine whether . . . the
               district court had jurisdiction. If [not], then the court’s various orders,
               including that granting leave to amend the complaint, were nullities.”).
               Declarations can remedy “defective allegations” of jurisdiction but “[do]
               not provide a remedy for defective jurisdiction itself.” Id. at 1380 n.3
               (quoting Field v. Volkswagenwerk AG, 626 F.2d 293, 306 (3d Cir.
               1980)).
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               standing for these five claims, and we need not reach the
               other elements of the associational standing test.

                                             D

                   Finally, we consider the merits of Plaintiffs’ ADA claim
               against the City. Although this claim survives our
               jurisdictional analysis, it suffers from other flaws. The ADA
               claim fails on the first Winter factor, because Plaintiffs have
               not shown a likelihood of success at this stage. 555 U.S. at
               20. And the district court abused its discretion by relying on
               extra-record evidence to find success on the merits and by
               ordering overly broad relief.

                   Plaintiffs failed to “establish that the law and facts
               clearly favor [their] position.” Garcia, 786 F.3d at 740.
               Plaintiffs had to show that Van Scoy and Suarez were denied
               the benefits of the City’s sidewalks or were otherwise
               discriminated against by the City and that such denial of
               benefits or discrimination was by reason of their disabilities.
               Weinreich v. L.A. Cnty. Metro. Transp. Auth., 114 F.3d 976,
               978 (9th Cir. 1997); see also 42 U.S.C. § 12132. Public
               sidewalk and architectural obstruction ADA claims are fact-
               intensive claims with specific requirements and evidentiary
               burdens. See, e.g., Kirola v. City & County of San
               Francisco, 860 F.3d 1164, 1183 (9th Cir. 2017) (discussing
               evidentiary      burden     of    demonstrating        sidewalk
               “inaccessibility at a programmatic level”); Chapman v.
               Pier 1 Imports (U.S.) Inc., 779 F.3d 1001, 1008, 1010
               (9th Cir. 2015) (observing that movable or temporary
               obstructions are typically not architectural barriers, although
               frequent barriers “must be viewed systemically”). But
               Plaintiffs’ allegations centered on the fact that blocked
               sidewalks “[p]ut [e]veryone at [r]isk,” and they did not offer
               sufficient evidence to make the required showing for Van
               Scoy and Suarez to succeed on this claim at this stage.
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               Plaintiffs also failed to suggest a specific, reasonable
               accommodation. Instead, they seek the wholesale clearing
               of 50-plus blocks followed by criminal enforcement of anti-
               camping and related ordinances. This may be significantly
               broader remedy than required for Van Scoy and Suarez to
               safely navigate sidewalks to complete daily activities. See
               Pac. Radiation, 810 F.3d at 636 (holding that the plaintiff
               must “establish a relationship between the injury claimed in
               the party’s motion and the conduct asserted in the
               complaint” (quoting Devose v. Herrington, 42 F.3d 470, 471
               (8th Cir. 1994) (per curiam))).

                   Adopting Plaintiffs’ approach, the district court found a
               likelihood of success on the merits of the ADA claim due to
               the “[h]undreds of city sidewalks, not only in Skid Row but
               across the City and County of Los Angeles, [that] fail to meet
               the minimum requirements of the ADA due to the creation
               of homeless encampments.” But the Order failed to explain
               how the record supports Van Scoy and Suarez’s claim in
               particular, or how the relief ordered (e.g., offering every
               person in Skid Row shelter within 180 days) is tailored to
               their injuries (e.g., encountering blocked sidewalks while
               running errands). The district court failed to analyze Van
               Scoy and Suarez’s injuries or the requirements of their ADA
               claim and abused its discretion by finding a likelihood of
               success on the merits. The ADA claim is therefore unable
               to support the sweeping relief ordered in the preliminary
               injunction. Disney Enters., Inc., 869 F.3d at 856.

                                            IV

                   The district court undoubtedly has broad equitable power
               to remedy legal violations that have contributed to the
               complex problem of homelessness in Los Angeles. But that
               power must be exercised consistent with its discretionary
               authority and Article III. Because the district court did not
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               do so, we VACATE the preliminary injunction order and
               REMAND for proceedings consistent with this opinion.

                  VACATED and REMANDED.
